EXHIBIT A

Case 3:11-cV-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 1 of 29 Page|D #: 7

ill CT C_c)rpc)r-/ai;iori

Service of Process
Transmittal

08/ 31 /2011

CT Log Num?oer 519078580

To= Melita Hobby, Administrati`ve Assistant

SavaSeniorCare, LLC

One Ravinia Drive, Suite 1500

Atlanta, GA 30346

RE: Frocass $orved In Termosseo

FOR:

SSC ANDERSONV|LLE OPER.LT|NG COMPANY LLC (Domestic State: DE}

ENCLOBE\`) li\E C°PlES DF LEGLL ImcE$$ I\ECEWED BY THE STATUTORV AGE||!' QF 'YIlE ABOVE COMFANY 13 F°LLOW’$¢

f!`l‘LE OF AC'|'|DN=

DOCUH EI|T(S} BER\|'ED:

c°UIlTIIGE NCY!

NI\TUI\E CF AGTIOH:

ON WHOM FM°GESS WAS SERVED=
DA‘I"E ANU HB“R UF $El\|lCE:
JUR|$D|CTION SERVED :
APPEARAN¢E on ANSWEI BUE!

AYTORNEY(S) l SEHDER(S):

ml°|| lTEIIS:

SIGNED:
,£R:
lull lms

YELEFHON E:

Helen T. Benningcon, Deceased, by her daughter and next of kin. etc. and Andrea D.
Shiveley, Pltfs. vs. SSC Andersunville Operating Company LLC, etc., ths.

Summons, Complaint, Certii`i<:ate, Affidav'its, Exhibiis, Attachments

Sevent.h Judi`cinl District Circuit Court, TN
Case # BILA0269

Medical injury - On or about March 30, 2010 through May 5, 2010 all allegations of
malpractices and!or gross negligence or negligence

C T Corporation System, Knoxville, TN

By Process Sewer on 08131!2011 at 09:1$

Tennessee

Within 30 days after service of the summons, exclusive of the date of service

Ridencur & Ridenour
108 Seuth Main Street
Pnst Office Box 530
Clinton, TN 37717~0530
865-457-0755

CT has retained the current log, Retain Date: 08!31/2011, Expected Purge Date:
091 0512011

|mage SOP

Email Notification, Melita Hobby mlhobby@savasc.com

Email Notification, Wynn Sims WSims@SavaSC.com

C f Corporation Syst.em
:\my McLaren

800 S. Ga Street

Suite 202

Knoxville, TN 37929»9710
800-592-9{323

Page1of‘l/DS

lnfonnacion displayed on mls transmittal is for CT Corporai:‘lon’s
record keeping purposss» only and is pmvided m me recipient far
quick reference This information does not constitute a legal
opinion as to the nature of action, the amau\t of damages the
answer date, or any information contained in the dommenu
themselves. |declplent 15 respons‘bla i‘or interpreting said
documents and for taking appropriate uction. Si’grintures an
certified mail receipts confirm receipt uf package unly, noL

Case 3:11-cV-OO460-PLR-HBG Document 1-1 Filed 09/21/ioitm|i>age 2 of 29 Page|D #: 8

IN THE SE!ENTH JUD|C!AL D|STR|CT FOR T'HE STATE OF TENNES§EE
C|RCQ]T DlVlS|ON '

HELEN T¢ BENN|NGTON, deceased

by her da`lighter and next of kin.
ANDREA D. SHlVELEV, s citizen and
resident of 303 Nave Streat.

Glinton. Anderson Gounty.

Tennessea 37716. and

ANDREA D. SH|VELEY. individually

a citizen and resident of 303 Nave Street,
Clinton.Anderson County,

Tennessee 37716.

Plainliffs.

v. No ' MQZDQ

JURY DEMAND
SSC ANDERSONV|LLE OPERAT|NG
COMPANY LLC. a Deiaware limited liability
companyl dib/a Norris Health and Rehabilitation
Center, with registered agent CT Corporation
System. 800 S. Gay Street. Suite 2021,
Knoxville. Knox County, Tennessee 37929,

Del‘enclant.
S U M N| O N S

You are hereby summoned and required to serve upon .l. Timothy Bobo. Plaintiif's attorney, whose address is 108 S. Main Street, Post Oft‘rce Box
530. Clinton. Tennessee 37717-0530. an Answer to the Complaint herewith served upon you within thirty (30) days alter service of this Summons and
Complalnt upon you, exclusive ol‘ day service |f you fail to do so, Judgmenl by Default can be taken against you for the relief demanded in the Complaint.

issued and tested thiQQ_ day o , 2011. _
_BABBY_E; PEL\Z%R|% fe . .. A.DHW

°`°"" mm ronassrsnr:crcriu
puty C|erk _ j\"-'="‘¢ ',865'463’6824

N 0 T | C E
To the Defendant(s): » .

Tennessee law provides a Four Thousand ($4.000.00) Doilar personal property exemption from execution or seizure to satisfy a judgment if a
judgment should be entered against you in this aciion, and you wish to claim property as exempt you must me a written list, under oath, of the 'tems you
wish to claim as exempt with the Clerl< of the Court. The list may be filed at any time. and may be changed by you thereafter as necessary. however. unless
lt is filed before the judgment becomes final lt will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain items are
automatically exempt by law and do not need to be listed; these include items unnecessary wearing apparel ior yourself and your fami|y, and trunks or other
receplades necessary to Contain such apparel family ponraiis, the family Bibte. and school books Should any of these items be seized. you would have the
right to recover them. if you do not understand your exemption right, or how to exercise it. you may wish to seek the counsel of a lawyer

SERVICE |NFORMA ||ON
TO THE PROCESS SERVER:

(Sherifl) Serve the Defendant. SSC ANDERSONVILLE OPERAT|NG COMPAN¥ LLC, d/bla Norrls Heall;h and Rehabil|talion
Center,_ cio registered agent CT Corporatiorr System. 800 S. Gey Street. Suite 2021. Knoxvil|e. i<nox County. Tennessee 37929 through the Sherlff
Of Kno)c Cou nty, Tennesseo.

   

 

/ B E T U R N
lreceived this summonsonthe Q`d?y of w y ,2011.

daAgP 31 Zm 2011 ‘
y " "'_S`erve`ci` Special Assis'rant -'»}o¢:ren
() 1'-/ Served this Summons and a Complainl on Deiendant. §$¢WNBEFFS'BNWWE ®PE'§AH'NG€GDMRANY LLC, in the following manner
, .

l hereby certify and return that on the

  
 

 

Ef`ieka :r\l ‘ l ' `
l \ j f v r

{ ) Faiied lO SEN€ this SummOnS Wil'hii'l ninety days after its issuance because company

 

 

 
   
 

Prooess Server

This summons is issued pursuant lo Rule 4 ofthe ules of Civi| Procedure.

Case 3:11-cV-OO460-PLR-HBG Documeint 1-1 `Filed 09/21/11 Page 3 of 29 PagelD #: 9

WILKINSTIPTON

."\TTOR[\' EYS :‘\T L..~\\"\."

Ojj‘ices in jackson and Greenville, Mississippi, Nashville, Tennessee, Mobile, Alabama and Charlotte, North Carolina

 

DA“D M' EATON Joseph T Stephens The Pari<iane nondng

(1939 _`2003) 5200 Maryland Way, Surte 301

dcaton@wilkinstipton.com Bre"twood’ TN 37027
\/ Robert M. Carpenter

LrCENseD rN TEr~mF.ssF.F. AND MrssissiPPI (1945 ' 2000) Phgne; (615) 661-7820

Craig D. Bluntson Fax: (615) 661-7236

(1967 - 2000) www.will<instipton.com

Our File No. 463.110220

Scptember 15, 201 1

SENT VIA HAND DELIVERY

l\/Ir. Barry Pelizzari

Anderson County Circuit Court Clerk
100 N. l\/lain Strcet, Roorn 313
Clinton, TN 37716-3619

Re: Helen T. Bennington, Deceased, et al v. SSCAndersonville Olr)emtin,<_7 Companv, LLC
Seventh J udicial Districtfor the State of Tennessee Circuit Division; Anderson County
Case No. BILA0269

Dear l\/[r. Pelizzari:

Pursuant to information received from your office this date, enclosed is our firm check in
the amount of $16.00 for a certified copy of the court tile in the above-referenced matter. Also
enclosed is a Certiflcate of Clerk Which We Would also request that you sign and return to us
along With the court file.

l appreciate your assistance in this mattcr. Please con tact me if you have any questions
or need additional information

Very truly yours,

Wilkins Ti_pton, P. A

M"L 1/ll L¢% c

David M. Eaton
DME: ams

Case 3:11-cV-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 4 of 29 Page|D #: 10

mHHNw

".OZ umHOoOM

waco HwEoumdU

oo.wH quSOE< u@Hmowm

o "®umm O>Huomwwm

nmomdom uE®E>mm

UmUUO£u®E uE®E>m@

ZOHmHH w mZHHmHHm mZHM.HHBH EOH@ ©®>H®Umm

ZOHH£UHHHHMHU/mHHNOU
HHmmHZZHH mo HH¢HU"®H>MU

BMDOU HHDUMHU
HM¢NNHAHN H HMM¢N

mw mw mH HHON `mH @mm_mm@
Nm.mm¢`NHWOJD moEmHmm

m£b"

N~

HHoN.mH.m

mHHmOUn
don

wm UU>HOUQM

QUOU UHOE
QQ>H umHmo®m
mama umeo®m

mmmm\xuom
HQQEJZ mmmo
H®QEJZ umsoo

Case 3:11-CV-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 5 of 29 Page|D #: 11

.__._ m.: m ~.DOD._ ___ 2me OOmm

12 ..2.§.:1:...1§_,...…`_ ~: g *...: `,;_: ;J::.;,_. f .“,:;,:

 

M»z§ § &m,.`, HM\»NW\~Q. , \:\w` \\.N»\N\\~\\VNSV

. . ; »`_\ \ _. `. \. \ , , .,,¢ ..,: » ».,
§ § , a `. W .q : _, § x /` . § § _ 2
. .\\\\M\M \ ,w\`\ ,`v`\ ` \ ,.» §§ `M\ m,.`.`.. M\ ` T_

. __
§:0_>_< : \ y \ \_\.W E<Q
25 . \ v c
_` x mm@§.m@
®®N v §§ wz ,zow§§ .<.n_
zz<m ._<zo:<z §<_Ew_._E
`Jm...»r_.,F¢,w¢§?..§§¢§¥.mw£ad§;__ .; . __ .. . f ..,_

\,

mo"_ .__m rm __ DO.__

s§§§§,.

.. s.;w`.`\\~r iv …\vw\w.>\z~\ww\ EQMM
2 `.\\/.;\

\ § _. ,\ ) .. m=¢ 9
522 »s__,\:\,%`w §»§\§W\; _,`_ ><n_

`\

hwo~m Z._. .n_OO>>._.zmmm
o: wCDm .><>> DZ<J>E<_>_ comm
>»<.._ .».< w>mzm°._.._.<

.ZQ._.....=._. d mzm_._n_m._.w .mz_v_.=>>

L

w

._ rca §§F».§§F¢i¢.. :,`§.

Case 3:11-CV-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 6 of 29 Page|D #: 12

lN THE CIRCUIT COURT FOR ANDERSON COUNTY, TENNESSEE

HELEN l. BENNINGTON, DECEASED, BY

HER DAUGHTER AND NEXT OF KIN,

ANDREA D. SHIVELEY, A CITIZEN AND

RESIDENT OF 303 NAVE STREET, CLINTON,

ANDERSON COUNTY, TENNESSEE 37716;

AND ANDREA D. SHIVELEY, INDIVIDUALLY,

A CITIZEN AND RESIDENT OF 303 NAVE

STREET, CLINTON, ANDERSON COUNTY,

TENNESSEE 37716 PLAWTIFF

VS. CASE NO: BILA0269

SSC ANDERSONVILLE OPERATING COMPANY,

LLC, A DELAWARE LIMITED LIABILITY COMPANY

D/B/A NORRIS HEALTH AND REHABILITATION

CENTER, WITH REGISTERED AGENT CT CORPORATION

SYSTEM, 800 SOUTH GAY STREET, SUITE 2021,

KNOXVILLE, KNOW COUNTY, TENNESSEE 37929 DEFENDANT

CERTIFICATE OF CLERK
I, Barry Pelizzari, Clerk of the Circuit Court of Anderson County, Tennessee, do hereby
certify that the attached papers are a full, true and correct copy of all the process, pleadings and
orders in the above entitled action and constitute all the papers on file in the above-styled and
numbered cause in the Circuit Court of Anderson County, Tennessee.

GIVEN UNDER MY HAND AND OFFICIAL SEAL, this the l§ l day of September,

2011.

\\\\\\\um,,//

"\\5\:_ ‘\G,O.U_€]` //’/

lC ‘?(6\

‘€ 1

"Q ‘7(._ §
'Z

 

 

450
§ 550
':; ,LS,BSIE AL
» 1a
"/,Oe§
/// /,SON CO\); \\`
M’/llc»\\\\“

/`

// \\
/"'Hli\\\\\\\

Case 3:11-CV-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 7 of 29 Page|D #: 13

|N THE SEVENTH JUD|C|AL D|STR|CT FOR THE STATE OF TENNESSEE
C|RCU|T DlVlS|ON

HELEN T. B_El\lNlNGTON, deceased,
by her daughter and next of Kin,
ANDREA D. SH|VELEY, a citizen and
resident of 303 Nave Street,

C|inton, Anderson County,
Tennessee 37716,

and

‘)l`d§l`l§ 18000 _l_lllf)ljlf]
ld\j§~fl`l"l§cl'll M:'ElVEl

citt 5b `V ZZ llll` llllZ
Cll':l`lI_-l

ANDREA D. SH|VELEY, individually,

a citizen and resident of 303 Nave Street,
C|inton, Anderson County,

Tennessee 37716,

Plaintiffs,

V_ No.:@l ILQQ,[QQ

JURY DEl\/lAND
SSC ANDERSONV|LLE OPERAT|NG
COl\/lPANY LLC, a Delaware limited liability
company, d/'b/a Norris l-lealth and Rehabilitation
Center, With registered agent C'l' Corporation
System, 800 S. Gay Street, Suite 2021,
Knoxville, Knox County, Tennessee 37929,

Defendant.

M
Corne now the Plaintifls, He|en T. Bennington, by her daughter and next of kin,
Andrea D. Shiveley, and Andrea D. Shiveley, individually, and Would respectfully show
unto this l-lonorable Court as follows:
7 1. `l'he Plaintiff, He|en T. Bennington, deceased (hereinafter, the “deceased

Plaintiff"), is survived by her daughter and next of kin Andrea D. Shiveley, Who is a

Case 3:11-cV-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 8 of 29 PagelD #: 14

citizen and resident of Anderson County, Tennessee (together with the deceased
Plaintiff, hereinafter the “Plaintiffs”).

2. » `l'he Defendant, SSC Andersonville Operating Company LLC (hereinafter,
the “Defendant”), is a Delaware limited liability corporation doing business in Anderson
County, Tennessee at 3382 Andersonville Highway, Andersonville, Tennessee, 37705,
with registered agent: CT Corporation System, 800 S. Gay Street, Ste 2021, Knoxville,
`l'N 37929. The medical malpractice and other negligent acts and/or omissions and the
injuries that give rise to this cause of action occurred in Anderson County, Tennessee.
Upon information and belief, the Defendant does business in Anderson County,
Tennessee as Norris l-lealth and Rehabilitation Center.

3. At all times material herein, Defendant employed physicians, nurses,
nursing assistants and other staff who were acting within the course and scope oftheir
employment with, or as agents of or apparent agents of, the Defendant. Hence, all
allegations of malpractice and/or gross negligence or negligence of such employees
and/or agents or apparent agents are chargeable to and imputed to the Defendant by
virtue of the doctrine of respondeat superior.

4. On or about l\/larch 30, 2010 through l\/lay 5, 2010, Plaintiff was a resident
at Defendant's facility in Andersonville, Tennessee. While under the care of the
Defendant, the Plaintiff was not adequately monitored, turned or examined at the
Defendant's facility and was otherwise neglected, resulting in the development of
malnutrition, dehydration, weight loss, and extremely painful advanced decubitus ulcers
in her pelvic area. `l'he Plaintiff contracted infections as a result of the decubitus ulcers.

The Plaintiff was transferred to l\/lethodist l\/ledical Center of Oak Ridge on l\/lay 5, 2010,

2

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 9 of 29 PagelD #: 15

and, upon information and belief, the Plaintiff succumbed to the infections caused by the
Defendant’s malpractice and/or gross negligence or negligence1 and died on l\/lay 18,
2010.

5_ The Defendant, though its employees and/or agents acting within the
scope and course of their employment or duties, was medically negligent and/or grossly
negligent or negligent in failing to: (i) adequately monitor and care for the deceased
Plaintiff, including but not limited to administering basic custodial care for the prevention
of the emergence and development of decubitus ulcers in accordance with approved
care plains and doctor orders; (ii) properly supervise, train and/or instruct its employees
and/or agents in a proper method of caring for and treating the deceased Plaintiff, and
(iii) act with ordinary or reasonable care in accordance with the recognized standards of
acceptable professional practice in the medical and nursing profession, including but not
limited to in the prevention and medical treatment of decubitus ulcers. Further, at all
times material to the facts and events at issue, the deceased Plaintiff was under the
exclusive control, care and management of the Defendant, and a resident and patient in
the deceased Plaintiff’s condition upon admission to the Defendant’s facility would not
ordinarily have become severely malnourished, dehydrated or undervveight and would
not have developed advanced decubitus ulcers and fatal infections in the absence of
malpractice and/or gross negligence or negligence on the part of the employees and/or
agents of the Defendant.

6. Certain acts and/or omissions on the part of the Defendant’s employees
and/or agents referenced hereinabove constitute deviations from the accepted

standards of professional practice for physicians, nurses and other duly licensed

3

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 10 of 29 PagelD #: 16

medical personnel practicing in Andersonville, Anderson County, Tennessee and similar
communities at the times relevant herein.

7. As a direct and proximate consequence of the malpractice and/or gross
negligence or negligence ofthe Defendant through its employees and/or agents, the
deceased Plaintiff developed conditions resulting in extreme physical pain and suffering1
mental anguish, medical and hospital expenses, physical injuries, and ultimately her
untimely and wrongful death.

8. ln the alternative to the medical negligence allegations set forth herein and
in addition to the ordinary negligence allegations, the deceased Plaintiff was at all times
“an elderly person”`and/or a “disabled person” as defined by the Tennessee Adult
Protection Act (T.A.P.A.), 'l'.C_.A §71-6-101, et seq., and the corresponding regulations
then permitted by the Department of Health and its agents, including the division of
health care facilities, while a resident at the Defendant’s facility. Accordingly, the
deceased Plaintiff was a member of the class that the T.A.P.A. is intended to protect

9. The acts and omissions of the Defendant, as set forth above, occurred in
a facility, or were committed by the staff of a facility required to be licensed under M
§68-11-202_'

10. The acts and omissions of the Defendant, as set forth above, constitute
abuse and neglect as defined by the T.A.P._/-\. and, accordingly, the deceased Plaintiff
suffered harm of the type that T.A.F’.A. is designed to prevent

11. As a direct and proximate result ofthe above-referenced violations ofthe

T.A.P.A. by the Defendant through its employees and/or agents, the deceased Plaintiff

4

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 11 of 29 PagelD #: 17

suffered mental anguish, extreme physical and mental pain and suffering, medical and
hospital expenses, physical injuries, and ultimately her wrongful and untimely death.
12_ Further, the deceased Plaintiff’s daughter Plaintiff Andrea D. Shiveley has
suffered injuries resulting from loss of consortium with the deceased Plaintiff.
13. The Plaintiffs further allege that the actions and omissions of the
Defendant were grossly negligent in nature, justifying an award of punitive damages.
14.- The Plaintiffs have complied with the notice requirements set forth in
LA §29-26-121(a), and copies of the required notices and appurtenant
documentation are attached hereto.
15. The Plaintiffs are filing with this Complaint a Certificate of Good Faith in
accordance with the requirements of M §29-26-122.
l WHEREFORE, PREl\/llSES CONSIDERED, PLA|NT|FFS PRAY:
1. That process issue and be served upon the Defendant through the
Sheriff of Knox County, Tennessee, requiring its answer to this Complaint, but its oath
to its answer is expressly waived;

2. That a jury of six persons be empanelled to try this cause;

3. That the deceased Plaintiff be awarded compensatory damages
against the Defendant in the amount of One l\/llllion Dollars ($1,000,000.00), and
punitive damages in the amount of Three l\/lillion Dollars ($3,000,000.00);

4. That Plaintiff Andrea D. Shiveley, individually, be awarded

compensatory damages for loss of consortium in the amount of $250,000.00;

5. That the costs of this action and Plaintiffs’ attorneys’ fees be

awarded to the Plaintiffs; and

5

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 12 of 29 PagelD #: 18

6. That the Court grant to the Plaintiffs such other, further and general
relief to which the Plaintiffs may be entitled to upon hearing ofthis cause.

Respectfully submitted, this the 22nd day of July, 2011.

(\MY.Si»h/</Qts

Andrea D. Shiveley, daughter and
next of kin of He|en T. Bennington,
deceased, Plaintiff

dauv$.§laa,e

Andrea D. shiveley, indiviobany,
Plaintirr

By: 96 §Mv %:§`crqr@/@z& M'-$Ss~`€`>`v\(;")l»)
J Timothy Bob , PR#017 E(€:R:OUO|»]

Attorney for Plaintiffs

RlDENOUR & RlDENOUR

108 South l\/lain Street

Post Office Box 530

C|inton, Tennessee 37717-0530
(865) 457-0755

6

Case 3:11-cv-00460-PLR-HBG Document 1-1 Filed 09/21/11 Page 13 of 29 PagelD #: 19

C O S T B O N D
We hereby acknowledge ourselves as sureties for the costs of this cause for all

court costs and taxes, in accordance with T_C.A. §20-12-120.

\

Andrea D. Shiveley, daughter and
next of kin of He|en T. Bennington,
deceased, Plaintiff

 

M%,M

Andrea D. Shiveley, indi\[idually,
Plaintiff

By: , ` hmsg:t~@>\}
J imothy Bo

Attorney at Law BYE`~lJ:OZ‘i 0 jj

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 14 of 29 PagelD #: 20

|N Tl-lE SEVENTH JUD|C|AL DlSTR|CT FOR THE STATE OF TENNESSEE
ClRCU|T D|VlS|ON

HELEN T. BENN|NGTON, deceased,
by her daughter and next of kin,
ANDREA D. SHlVELEY, a citizen and

resident of 303 Nave Street, 253 N
C|inton, Anderson County, §§ §
Tennessee 37716, §§ §§
am § §§ l‘
and §§ ¢\> g
ANDREA D_ sHlvELEY, individually, P§iil y 5
a citizen and resident of 303 Nave Street, - §§ :
O-

Clinton, Anderson County,
Tennessee 37716,

Plaintiffs,

v. d NO ' _B_LL_-_H;D_grz?

"JuRv DEMAND

SSC ANDERSONV|LLE OPERAT\NG
COl\/lPANY LLC, a Delaware limited liability
company, d/b/a Norris Health and Rehabilitation
Center, with registered agent CT Corporation
System, 800 S. Gay Street, Suite 2021,
Knoxville, Knox County, Tennessee 37929,

Defendants.

PLA|NT|FFS’ CERT|F|CATE OF GOOD FAlTH

l\/ledical l\/lalpractice Case

A. ln accordance with T.C.A. § 29-26-122, l hereby state the following: (Check item
1 or 2 below and sign your name beneath the item you have checked, verifying the
information you have checked. Failure to check item 1 or 2 and/or not signing item 1 or
2 will make this case subject to dismissal with prejudice.)

§ 1. The plaintiff 0r plaintiffs counsel has consulted with one (1) or more
experts who have provided a signed written statement confirming
that upon information and belief they:

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 15 of 29 PagelD #: 21

(A) Are competent under § 29-26-115 to express
opinion(s) in the case; and

(B) Believe, based on the information available from the
medical records concerning the care and treatment of the
Plaintiff for the incident(s) at issue, that there is a good faith
basis to maintain the action consistent with the requirements
of § 29-26-115.

Q,. irwch va oe._:SS-»~\ am

S@nature of PlaHn/tiff if not re'presented, or 7
Signature of Plaintiff's Counsel B€e;lll:°vlo'

Or

\:] '2. The P|aintiff or Plaintiff’s counsel has consulted with one (1) or
more experts who have provided a signed written statement
confirming that upon information and belief they:

(A) Are competent under § 29-26-1 15 to express
opinion(s) in the'case; and

(B) Believe, based on the information available from the
medical records reviewed concerning the care and treatment
of the F’|aintiff for the incident(s) at issue and, as appropriate,
information from the P|aintiff or others with knowledge of the
incident(s) at issue, that there are facts material to the
resolution of the case that cannot be reasonably ascertained
from the medical records or the information reasonably
available to the Plaintiff or Plaintiff’s counsel; and that
despite the absence of this information there is a good faith
basis for maintaining the action as to each Defendant
consistent with the requirements of § 29-26-115. Refusal of
the Defendant to release the medical records in a timely
fashion, or where it is impossible for the plaintiff to obtain the
medical records shall waive the requirement that the expert
review the medical records prior to expert certification

 

Signature of P|aintiff if not represented, or
Signature of Plaintiff’s Counsel

Case 3:1i-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 16 of 29 PagelD #: 22

B. You l\/lUST complete the information below and Sign:

| have been found in violation of T.C.A. § 29-26-122 1 priortimes. (lnsert number of
prior violations by you.)

. \»h om-~"$~v~'Bva 7222§)[
S‘ a'ure of P Son Executin'g"l'his Document W{@loqjoq Dat

 

Case 3:11-Cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 17 of 29 PagelD #: 23

|N THE SEVENTH JUD|C|AL D|STR|CT FOR THE STATE OF TENNESSEE
C|RCU|T D|V|S|ON

HELEN T. BENN|NGTON, deceased,
by her daughter and next of kin,

l k

ANDREA D. SHlVELEY, a citizen and nw w
resident of 303 Nave Street, §J? §
C|inton, Anderson County, §§ rE
Tennessee 37716, 32 w §§ 11
and §§ w v r_
cd'.:] > m
r~.-~v U
ANDREA D. sHlvELEY, individually, §§ :~’
O-

a citizen and resident of 303 Nave Street,
C|inton, Anderson County,
Tennessee 37716,

Plaintiffs,
NO-: &LL_HQM

v.
JURY DE|\/IAND

SSC ANDERSONV|LLE OJPERAT|NG
COl\/|PANY LLC, a Delaware limited liability
company, d/b/a Norris Health and Rehabilitation

Center, with registered agent CT Corporation

System, 800 S. Gay Street, Suite 2021,
Kno)<ville, Knox County, Tennessee 37929,

Defendant.
AFFIDAV|T OF GLENDA l\/l. HATl\/lAKER

l, G|enda l\/|. Hatmaker, being at least eighteen (18) years of age, afterfirst being
duly sworn according to law, make oath that | have read or been read aloud the

following Affidavit and that the facts set forth herein are true to the best of my

knowledge, information and belief.

1. l\/|y name is Glenda l\/l. Hatmaker. | am over the age of eighteen (18)
years old and competent to give the testimony contained herein. | have

personal knowledge of the matter stated herein.

This Affidavit is being furnished pursuant to T.C.A. § 29-26-121(a)(4).

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 18 of 29 PagelD #: 24

3. On l\/larch 28, 2011, l caused notices in the form required pursuant to
T.C.A. § 29-26-121 to be mailed via U.S. Postal Service by certified mai|,
return receipt requested, to the above-named Defendant. A copy of each
such notice is attached hereto as part of Exhibit A.

Fuith_er, Affiant sayeth not.

l lr
This the‘,l5 day of July, 201 1.

farr

Glenda l\/l.` Hatmaker

sTATE or= TENNEssEE )
couNT`Y oF ANDERsoN )`

OATH

Before me personally appeared Glenda l\/l. Hatmaker, who makes oath that the

statements herein are true to the best of her knowledge, information and beliefl

Sworn to and subscribed before me this

the£l`$* day of Ju|y, 2011. %`“\\\,mm,§i,

 

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 19 of 29 Page|D #: 25

        

l:)\l'\lDl l
;ton Office:

@‘lio/mudm/ ab £<JML d " P'O_ BOX 776

Kingston, TN 377 63

Roger L. Riclenour ~ OfCounsel
john D. Agee

l. Timothy Bobo

lod‘ B~ men 108 S. Main Street Tetep\mne: rsas) 376_9943

gamuel K Lee+ +++ C]inton, Tennessee 37716 Fax: [865)376-3632

tvlartin W. Cash, ]r. k P'O_ BOX 530 l. Carsort(ll%;§;tto§g.e$')r).

Bradley D, Williams++ Clinton, TN 37717-0530 G' W. Ridenmm ll
' (1936 ~ 1936)

AlSO LiL'ErlSEdin F[Grida'k Telephone: (865)457_0755 Ronald H` Ridenour

AI L' d `n New Yor' " _ ' t v _ ~

AI:; L;`:::i::d;'n the Dlstrict affd/umbin*"‘ TOH FI Ee' (800) 810 3476 (Re[lred 2003:}

Fax; (865] 457-4873
l\/larch 28, 2011

VlA CERTlFlED NlAlL`

NO. 7009 2820 0004 0742 3099

SSC Andersonville Operating Company, l_l_C
d/b/a Norris Health and Rehabllitation Center
c/o CT Corporation Systern, Registered Agent
800 S. Gay Street, Ste 2021

Kno><\/ille, Tl\l 37929

Re: He|en l. Bennington
D/O/B: 02/04/1929

Dear Sir or l\/ladam;

This letter is to provide Notice that our firm has been retained by Andrea
Shiveleyl daughter and next ot kin ot He|en l. Bennington, regarding l\/ls. Bennington’s
negligent care While she Was a patient in your care and in the care of your employee(s)
and/or agent(s) beginning l\/larch 30, 2010, until her discharge on l\/lay 5, 2011.

We have sent a Notice to you at your principal place of business at 3382
Andersonville Highway, Andersonville, Tennessee and to Dr. Joseph L. Thompson,
l\/lcl\leeley Family thsicians, 110 Executive Parl< Dri\/e, C|inton, Tennessee

P|ease find enclosed an Authorization allowing your access to l\/ls. Bennington’s
medical records. Thanl< you for your attention to this matter.

Very truly yours,

FOR THE FlRl\/l:
J. `l”irnothy Bobo

tlTB:gmhl
Enclosure

Case 3:11-cV-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 20 of 29 Page|D #: 26

v

MEDICAL AUTHORIZATION AND PATIENT’S RELEASE OF
l\/IEDICAL AND INSURANCE INFORMATION

TO: RE: Helen I. BenniLgton
DOB: 2/4/1929 D/O/D: 5/18/10
SSN: 411-40~1794

 

You are hereby authorized and directed to permit the examination and the copying or
reproduction in any manner, Whether mechanical, photographic or otherwise, by Norris Health
and Rehabilitation Center, 3832 Andersonville Hwy, Andersonville, TN 37705, or such other
person as they may authorize, of all or any portions desired by them of the following: NlEDlCAL
FAC|L|TY, PHYSICIAN(S) AND/OR GROUP, AND/OR lNSURANCE PROV|DER(S).

A. Hospital records, x-rays, x-ray readings and repoits, laboratory records, and reports, all tests of any type,
character and reports thereof, statements of charges, and any and all of my records pertaining to hospitalization7
histoiy, condition treatment, diagnosis prognosis, etiology or expense;be it written, photographs, videotapes,
digital or other images as Wella as any other information requested.

B. l\/ledical records, including patient’s records cards, x~rays, x-ray readings and repoits, laboratory records and
reports thereof, statements of charges, and any and all of my records pertaining to medical care, history,
condition, treatment, diagnosis, prognosis, etiology and/or mental condition or expense

C. ltemized bills and/or group, and/or insurance provider, its agents and/or contractors to disclose, discuss,
and/or release, orally or in writing, at Which Helen l Bennington Was treated, you are hereby authorized
and requested to furnish to the Norris Health and Rehabilitation Center, Andersonville, TN 37705, for
legal purposes, any and all information or opinions that they may request regarding

D. l understand that l am not required to sign this Authorization, and that treatment, payment, enrollment, or
eligibility for benefits is not conditioned on my execution of this Authorization. l may Revol<e this Consent
in Writing at any time, except to the extent that Action has been taken in reliance on it, and that, in any
event, this consent expires automatically as_follows.

You are fuither authorized and directed to furnish oral and written reports to Norris Health and Rehabilitation Center or
their delegate as required by them on any ofthe foregoing matters

NOTICE: You are also hereby expressly requested and directed to disregard any prior medical authorization executed by me or
on my behalf, and l request that you do not discuss the treatment and examination of my condition With any person or persons
without written authorization by me or my attorney

This authorization shall expire Whenever my litigation ends. The undersigned understands that l have a right to revoke this
authorization in writing and provide any exceptions to the right to revoke by simply notifying my attorney that l revoked this
authorization l understand that the information used or disclosed pursuant to this authorization may be subject to re'disclosure

by the recipient and no longer protectedb by the privacy 1 egnlation of mr AA." ihis authorization is being furnished pursuant
to a personal injury claim which arising out of mjuries to my mother

Witness my hand this day of , 2011.

/\\ _thi§‘h\ll r‘,i |\\\h\\\h,°\ Uc\,

Andrea Shiveley, Daughte`r and Next of Kli to
Helen l. Bennington, Deceased

 

 

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 21 of 29 Page|D #: 27

   
    
      
  

Postage $

Gartliied Fee

Pos ark
Fieiurn Fiecelpl‘Fee
_(Endorsement Flequlred)

Hestn'cled Delivery Fee
'Endorsernent Flequlred)

" Total Postage 81

runs assn anna urge sues

     

‘ r uNITED sTATES

 

  
 

 

POSTALSERWCE“ certificate of iviamng ga `
' 2
This Ceml'ica'.e cl Mailing provides evidence that mail hasibaeri presented to USPS® lorrnai|ing_ ___ § §
This lorrn ntay be used lar domestic and internati na| mai g c 3
From:|`--f\ c g §
f a
',Q \»1
'” 5
‘:* § 1-1 C
C) .
Q{:F} gm 1- w
N,___, z w»-'o-
U'| ON\IZ t
~; . estates
c_> . ._.
J> -( -U')Z U`!
l _- .
au l ._. _1 33
O'> Z g

 

 

     
   
     

“ ¢1.~ .;§;-,»HJ' »-jl-

.Ng§gtt“g 6`""1

  

 

 

Complete items 1, 2, and 3. Also complete A XSiQanUF€
item 4 if Ftestricted Delivery is desired. Cl Agent
Prir]:;t1 ypur name atnd atctlpressdon the reverse will al ' U Addre$$e€
~ so a We can re urn e car to you. B H .
Attach this card to the back of the mal|iJiece, eceived by §K§edr~ame) C` Date of DeI'VerY -
or on the front if space permits. d CLZU ll

 

 

 

Amc|e Addressed to D. ls delivery address different from item 1? m Yes

SSC M€)(SMV\ “Q.’®P)'M::l%@d] LLC lf YES, enter delivery address below: l:l NO
dibitl» theme lh\lih
Clt)(`ll Cizr ghw§qsl?rl?@:i@rai
sees are etc 20 21 t ssssrr
l:| e istere eurn ecei or erc an ise
bmw (f\@ j N quzr;? [J :siredindaii §:,<t),o.iq mr M h d

4. Flestricted De|ivery? (Extra Fee) E Yes

 

 

 

 

 

2. Artic|e Number

U'ransferfromservr`celabe/) 7DDq EE'EU UUULl i:i?l-lE Eil:i:l:i

PS Form 381`\ February 2004 Domastic neturn neceipt 102595-02-1)1-1540 ;

Case 3:11-c-v- -00460- PLR- HBG Document1-1 Filed 09/21/11 Paige 22 of 29 Page|D #: 28

Roger L. Ridenour- OfCounsel
lohn D. Agee

ll Timothy Bobo

]odi B. Loden

Saniuel K. Lee’ "’
I\”lartin W. Cash, lr.

Bradley 0, Williams”

Al_ro Licen$ed in Flori'da'
Also Licensed in New York"

Kingston 0ffice'.
339 W. Race Street

@lt°”`”“§i‘i’ alj w i>_o. sex 776

Clinton, Tennessee 3 77 1 6

l(ingston, TN 37763

103 S. l\/laln SU‘EE‘C Telephone: [865) 376-9943
ra><r (365)376~3632

]. Carson Ridenour. Sr.
P`O'BOXSBO (1908-2002)

Clinton,TN 37717-0530 G`W-Ridenom_l]r.

nasa - learn

Telephone: (865]457-0755 Rona]d H_ giden@irr-

Also Licensed in the Di'rrri`rt ofColuml)ia""

rare iess) 457-4878
l\/larch 28, 2011

VlA CERTlFlED lVlAlL

NO. 7009 2820 0004 0742 3082

SSC Andersonville Operating Company, l_l_C
d/b/a Norris Health and Rehabilitation Center
3382 Andersonville Highway

Andersonville, TN 37705

Re: He|en l. Bennington
D/O/B: 02/04/1929

Dear Sir or l\/ladam:
This letter is to provide Notice that our firm has been retained by Andrea

Shiveley, daughter and next ot kin of Helen l. Bennington, regarding l\/ls. Bennington’s
negligent care While she Was a patient in your care and in the care of your employee(s)

Toll Free: (800] 810-3476 (R@cired ~ 2003)

and/or agent(s) beginning l\/iarch 30, 2010`, until her discharge on l\/lay 5, 2011.

V\/e have also sent a Notice to your registered agent: C.T Corporation System,
800 S. Gay Street, Ste 2021, Kno)<ville, Tennessee and to Dr. Joseph l_. Thompson,
l\/icNeeley Fami|y Physicians, 110 E><ecutive Park Drivel C|inton, Tennessee,

Please tind enclosed an Authorization allowing your access to l\/ls. Bennington’s
medical records Thank you for your attention to this matter.

JTB:gmh
Enclosure

\/ery truly yours,

FOR THE FlRi\/il
/l drew

J. T%othy Bobo

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 23 of 29 Page|D #: 29

.. ‘..s .. .v ~.….

' MEDICAL AUTHoerATioN AND PATrei\rr’s RELEASE on
MEDICAL AND iNsURANCE rNFoRMATIoN

TO: ' RE: Helen I. Bennington
DOB: 2/4/1929 D/O/D: 5/18/10
SSN: XXX-XX-XXXX

 

You are hereby authorized and directed to permit the examination and the copying or
reproduction in any manner, Whether mechanical, photographic or otherwise, by Norris Health
and Rehabi/itation Center, 3832 Andersonville Hwy, Andersonville, TN 37705, or such other
person as they may authorize, of all or any portions desired by them of the following: lViED|CAL
FACll_lTY, PHYS]CIAN(S) AND/OR GROUP, AND/OR |NSURANCE PROVlDER(S).

A. Hospital records, x-rays, x~ray readings and repoits, laboratoiy records, and reports, all tests of any type,
character and repoits thereof, statements ofcharges, and any and all of my records pertainingto hospitalization, .
history, condition, treatment, diagnosis, prognosis, etiology or expense; be it written, photographs, videotapes,
digital or other images, as well as any other information requested

B. l\/ledical records, including patient’s records cards, x-rays, x-ray readings and reports, laboratory records and
reports thereof, statements of charges, and any and all of my records pertaining to medical care, history,
condition, treatment, diagnosis, prognosis, etiology and/or mental condition or expenses

C. itemized bills and/or groiip, and/or insurance providei'_, its agents and/or contractors to disclose, discuss,
and/or release, orally or in writing, at which l-lelen l Bennington was treated, you are hereby authorized
and requested to furnish to the Norris Health and Rehabilitation Center, Andersonville, TN 37705, for
legal purposes, any and all information or opinions that they may request regarding

D. l understand that l am not required to sign this Authorization, and that treatment, payment, enrollment7 cr
eligibility for benefits is not conditioned on my execution ofthis Authorization. l may Revoke this Consent
in writing at any time, except to the extent that Action has been taken in reliance on it, and that, i'ri any
event, this consent expires automatically as follows.

You are further authorized and directed to furnish oral and written reports to Norris Health and Rehabilitation Center or
:heir delegate as required by them on any ofthe foregoing matters.

_`\lOTlCE; You are also hereby expressly requested and directed to disregard any prior medical authorization executed by me or~
)n my behalf, and l request that you do not discuss the treatment and examination of my condition with any person or persons

Nithout written authorization by me or my attorneyl

I`his authorization shall expire Whenever my litigation ends The undersigned understands that l have a right to revoke this
luthorization in writing and provide any exceptions to the right to revoke by simply notifying my attorney thatl revoked this
authorization l understand that the information used or disclosed pursuant to this authorization may be subject to re-disclosiire
)y the recipient and no longer protected by the privacy regulation of“l-llPAA.” This authorization is being furnished pursuant

:o a personal injuin claim which arising out of injuries to my inother.

Witness my hand this day ofii , 2011.

‘r/\\§x@h\tti §§\\>a'\§r trip

Andrea Shiveley, Daughter and Next § into
Helen l. Bennington, Deceased

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 24 of 29 Page|D #: 30

 

 

Postage

    

 

Certitied Fee

  
 

 

Fleturn Heceipt Fee
(Endorsement Flequ|red)

 
  

 

Flestricted Delivery Fee
(Enc'orsement Flequ`ired)

  

 

Toial Postage 81 Fees

 

 
 

 

 

70[]‘:l EBEU l]l][lLl [l?liE BUBE

 

r '/P+4

UNITED STATES
POSTAL SERV!CE d

  
 
 

Sent "- v x \ `
............... l_\.i_ Oimsz>
Siraei, pl 0 '

_a§fah;§ét;§uéhmhiswudir ________

Certit'lcate Of lVlai|ing

  
  

i Q>.(Q/'i:t;d:c.:_:..

    
 

 

This Ceitilicala ot Maiting provides evidence that mail has| been presented to USF‘S@ for mailing.

This fomi may be used for domestic and miguel mail
Frorn. \_...-`
1/1/1/1@%»¢ inc d err/rs

 

éav¢iefb

 

fail Lt li'tli»r Ts/\J ;_,QU/

 

 

To:

 

  

/h/ lash(t?’/t/tn@)t% 'r /i'--

    

  
 

 

dj)$?/£ Ai/lcleréil/li///l

 

iCL;`»Ch/\ \/H_i f //\){

g
1§‘
s
"’~1
C’ 391
§§
//
C’ § w '~:
§§ gha :§:cwr._~m§n
/"//l/X CL°/L/\ n U'_'* 131\)\12:1>
Vj` N' CP°§SS_QU
€ /_/lAL/L §"_‘ z1 ~m_z 12
_ ¢'DLJ_\ : -1 1>
.é?i @~ z a

 

 

PS Form 3817, Aprl| 2007 PSN 7530~02-000-9065

Complete items 1, 2, and 3. A|so complete
item 4 if Ftestricted Delivery' is desired
Print your name and address on the reverse

m.k

 

A: Sig nature M`A
K>QQM/i{ {70 /€0{-_-' l:l A§l:rr]etssee

 

so that we can return the card to you.
Attach this card to the back of the mai|piece,
or on the front if space permits

m

B. Fieceived by ( P{( inted Narne) C. Date of Delivery

lirilir/r fwan 550 ll

 

 

 

itsti:e/v\ii:i§riuii, eraulr;@trs_iic
' hinkr/

ilri@» l\icrr'rsifccl%’l"l(ifihrl

 

D. ls deliveni address different from item ‘l? l'_'l Yes

 

 

 

382 lhduawwdklh:%n
hdwanulMtltJ§nqc

 

 

if YES, enter delivery address below: l:l NO
3. rvice Type
ertified Mail Express Mall
Ftegisteied Retum Receipt for Merchandise
l:l insured Mail l:l C._O.D.
4. Hestricted Delivery? (Ex'lra Fee) [1 yes

 

?. Artic|e Number
{Transfer from service label,

`?nns assn nnna nasa snsa

 

 

’S Form 3811, February 2004

Case 3:11§cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 25 of 29 Page|D #: 31

Domestic Retum Receipt

102595-02-M-1540 g

KLAMM & J KingstonOifice:

' _ l
Roger L. Ridenour lOiCounse 339 W` Race Street

low D‘ As€€ @M“Y)w’ d m P.o. sex 776

K` to ,TN 37763
i.TimothyBcbo lugs n

iodi B- boden l 108 S. Mam Street reiephone: rsrzsj 376-9943
Samuel K LEE+ +++ Ciinton,Tennessee 37716 FHX! 1365)376'3632
Martin \/V, Cash, ]r. P`O` BOX 530 ]. Carson[ll:tgi§;n_o§g,®$zr).
Bradley D. Williarns" Clinton, TN 37717-0530 Gl W. Ridenour[ Il_.

, (1936 _ 1986)
A“°L‘l“"”"'f" F,'°"“” Teieph@ne: r3651457~0755 reward H. Ricien@trr
Also Licensed m new Yuri\ TOH Free: (800] 810_3476 [Retired _ 2003)

/~llso Licensed iri the District dfCe/umbia*"'

Fa><; (8653 457-4378
l\/iarch 28, 2011

VlA CERTlFlED iVlA|L

NO. 7009 2820 0004 0742 3105
Dr. Joseph l_. Thompson
i\/lcNeeley Farniiy Physicians

110 Executive Pari< Drive
Ciinton, TN 37716

Re: He|en i. Bennington
D/O/B: 02/04/1929

Dear Dr. Thompson:

This letter is to provide Notice that ouriirm has been retained by Andrea
Shiveley, daughter and next of i<in of He|en l. Bennington, regarding l\/is. Bennington’s
negligent care while she was a patient in your care at SSC Andersonville Operating
Company, LLC d/b/a Norris Health and Rehabiiitation Center beginning l\/larch 30, 2010,
until her discharge from said facility on Niay 5, 2011.

V\/e have sent a Notice to SSC Andersonville Operating Company, LLC d/b/a
Norris Health and Rehabilitation Center at 3382 Andersonville Highway, Andersonville,
Tennessee and to their registered agent: CT Corporation Systern, 800 S. Gay Street,
Ste 2021, Knoxvi|ie, Tennessee

Piease find enclosed an /-\uthorization allowing your access to i\/is. Bennington’s
medical recordsl Thanl< you for your attention to this matter_
Very truly yours

l

FOR THE FlR!\!i;

V§;)i//
J. Tim th Bobo

JTB:grnh '
Enclosure

Case 3:11-cV-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 26 of 29 Page|D #: 32

MEDICAL AUTHORIZATION AND PATIENT’S RELEASE OF
MEI)ICAL AND INSURANCE INFORMATION

TO: RE: Helen I. Bennington
DOB: 2/4/1929 D/O/D: 5/18/10
SSN: XXX-XX-XXXX

 

 

 

 

You are hereby authorized and directed to permit the examination and the copying or
reproduction in any manner, whether mechanical, photographic or otherwise, by
or such other person as they may authorize, of all or any portions desired by them of the
following: iVlEDiCAl_ FAC|LlTY, PHYSICIAN(S) AND/OR GROUP, AND/OR lNSURANCE
PROV|DER(S).

 

A. Hospital rccords, x-rays, x-ray readings and repolts, laboratory records, and rcports, all tests of any type,
character and reports thereof, statements of charges, and any and all of my records pertaining to hospitalization,
histoiy, condition, treatment, diagnosis, prognosis, etiology or expense; be it Written, photographs, videotapes,
digital or other imagcs, as weil as any other information requested

B. l\/iedical records, including patient’s records cards, x-rays, x-ray readings and reports, laboratory records and
reports thereof, statements of charges, and any and ali of my records pertaining to medical care, history,
condition, trcatmcnt, diagnosis, prognosis, etiology and/or mental condition or expense

C. itemized bills and/or group, and/or insurance provider, its agents and/or contractors to disciose, discuss,
and/or release, orally or in writing, at which Helen l Bennington was trcatcd, you are hereby authorized
and requested to furnish to , for legal
purposes, any and all information or opinions that they may request regarding '

 

E. l understand that l am not required to sign this Authorization, and that treatment, payment, enrollment, or
eligibility for benefits is not conditioned on my execution of this Authorization. l may Revokc this Consent
in Writing at any time, except to the extent that Action has been taken in reliance on it, and that, in any
cvent, this consent expires automatically as follows

You are further authorized and directed to furnish oral and written reports to
or their delegate as required by them on any of the foregoing matters

 

NOTICE'. You arc also hereby expressly requested and directed to disregard any prior medical authorization executed by me or
on my bchaif, and l request that you do not discuss the treatment and examination ofmy condition with any person or persons
without written authorization by me or my attorney

This authorization shall expire whenever my litigation ends The undersigned understands that I have a right to revoke this
authorization in writing and provide any exceptions to the right to revoke by simply notifying my attorney that l revoked this
authorization l understand that the information used or disclosed pursuant to this authorization may be subject to re-disclosure
by the recipient and no longer protected by the privacy regulation of“l-HPAA.” This authorization is being furnished pursuant
to a personal injury claim which arising out of injuries to my mother.

Witness my hand this day of ` , ZOl l.
\ ` RD\

Andrea Shiveley, Daughter and cht of R\‘in to
Helcn l. Bennington, Deccased

Case 3:11-cV-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 27 of 29 Page|D #: 33

..

 

 

 

Postage_{ l

 

    

Carllfied Fee _ n

Fleturn Ftece|pt Fea

 

 

 

 

 

 

?[ll]’d EBEU UU[Jl-l.D?LlE 3105

 

\` /L/ , `.

(Endorsemenl Hequired) &`/` _ " fl,_#ffe \

d l \
Ftestricied Delivery Fee .` §

(Endorsement Required) $U ` go { \ 00 y,».\
lt c v 7 tv ' »O_`]

Total Pcslage & Fees $ $"|"'14 3 U`J/Ezé‘£lni S/

’7// ' ,.

\ /

  

 

 

UNI TED STATE$
g POSTAL SERV]CE m

3 t assignee t
DQ bigelow
Clirt.~lr\~ il//\l 3‘7"/[1

 

Certificate Of i\/|ailing

Tnis Certi&cate of Mailing provides evidence that mall has been presented to USPS®lor mailing

 

135

SC{_

0 U U l
iJr/\uis’ 1\'/1¥0¢/
SSlV.LSGS.L/Nh

 

 

 

ibt dn&ammvnl€®n _ § §:;;(AEU;
l ll fl alma §§
ll@ l`.\r'€(i,tlhlie eric @…Q § *:‘°1; §

(\'lll'liZl`l/\ iT/\/ éjf/L

 

es Form 3817, Apni 2007 PsN 7530*02~0009055

 

,\
E Complete items `|. 2, and 3. Also complete
item 4 if Restricted Delivery' is desired.
Pr'int your name and address on the reverse
so that we can return the card to you.
is Attach this card to the back of the mai|piece,

l'_'] Agent

C_

HGM./l/)/LC/M Cf/L l:i Addressee
15,Fleceived by (Pn'nted,_Na e)~\;l/d? Date of De|ivery
/l£lur/i“@ijll§ Cll:r: '

\
r-

 

\

 

or on the front it space permits

 

1. Article AddrBSSed l'.D'
lbr`d::la i>li l/, \fll

 

 

 

D. ls delivery address differs trom item t? l:l Yes

|f YES, enter delivery §ss below: l]l No
l; 6`€6, l
`\_:`r;" % jr
\\'l/" v _//

"‘-t "i/ /`= i M*. 3

 

 

ll©l; nather
Cli/\lr\ijiv 571/ta

 

2. Article Number
{Transfer from service labe/)

7[|[|'1 EBE[| [lU[lLl U?HE ElLlJE

 

El Express Mal|
Registered Return Receipt for Merchandise
l:| lnsured Mai| G.O.D.

4. Flestricted De|iveiy? (Extra Fee)

3. S rvice Type
§cerined Maii

[j Yes

 

PS Form 3811 February 2004

Domestic Retum Recelpt

1025954)2-M-1§3"a

Case 3: 11- -c\/- -00460- P|_-R HBG Document 1- 1 Filed 09/21/11 Page 28 of 29

Page|D #: 34

|N THE &>... . ENTH JUD|C|AL D|STR|CT FOR THE STA`|'E OF `| r_..NESSEE
C|RCU|T DlVlS|ON

HELEN T. BENNINGTONl deceased,

by her daughter and next of kin,
ANDREA D. SH|VELE¥, a citizen and
resident of 303 Nave Street,

C|inton, Anderson County,

Tennessee 37716, and

ANDREA D. SH|VELEY, individually,

a citizen and resident of 303 Nave Street,
C|inton, Anderson County,

Tennessee 37716,

Plaintiffs,

v. No.:»Q/MQ§M

JURY DEMAND

 

SSC ANDERSONVILLE OPERATlNG
COMPANY LLC, a Delaware limited liability
company, d/b/a Norris Health and Rehabi|itation
Center, with registered agent CT Corporation
System, 800 S. Gay Street, Suite 2021 ,
Knoxville, Knox County, Tennessee 37929,

Defendant.
MM§
Vou are hereby summoned and required to serve upon J. Timothy Bobo, P|aintiff's attorney, whose address is 108 S. Main Street, Post Offroe Bo)<
530, C|inton, Tennessee 37717-0530l an Answerto the Complaint herewith served upon you within thirty (30) days after service of this Summons and
Complaint upon you, exclusive of day service. |f you fail to do so, Judgment by Default can be taken against you for the relief demanded in the Complaint

,2011.

 

    

Deputy C|erk 7

N 0 T l C E
To the Defendant(s): '

Tennessee law provides a Four Thousand ($4, 000. OO) Dollar personal property exemption from execution or seizure to satisfy a judgment |f a
judgment should be entered against you in this action, and you wish to claim property as exempt, you must file a written list, under oath of the items you
wish to claim as exempt with the C|erk of the Court. The list may be fried at any time, and may be changed by you thereafter as necessary, however, unless
it is filed before the judgment becomes frna|, it will not be effective as to any execution or garnishment issued prior to the H|ing of the list. Certain items are
automatically exempt by law and do not need to be listed; these include items of necessary wearing apparel for yourself and your fami|y, and trunks or other
receptacles necessary to contain such appare|, family portraits, the family Bib|e, and school books. Should any of these items be seized, you would have the
right to recover them. lf you do not understand your exemption n‘ght, or how to exercise it. you may wish to seek the counsel of a lawyer.

SERV|CE |NFORlVlATlON
TO THE PROCESS SERVER:
(Sheriff) Serve the Defendant, SSC ANDERSONV|LLE OPERATlNG COMPANY LLC, d/b/a Norris Health and Rehabi|itation
Center, c/o registered agent CT Corporation System, 800 S. Gay Street, Suite 2021, Knoxvi||e, Knox County, Tennessee 37929 through the Sheriff
of Knox County‘ Tennessee,

 

    

 

 

 

 

 

_ <,, R E T U R N
l received this summons on theg\? day oFJU / f 2011
l hereby certify and return that on the _day gus 3 1 201§1
(1)/ _ k
HE'C?`€§ §_W 53 ‘"’ /`(r~é‘"r“’ ‘i”» dr 45 ‘Q.»:z<_`if€;t’[i,t-::§ (:~ 'H 1-1‘ . :~i 1111
( ) Failed to serve this summons within ninety days after its issuance becaus ec'$ =1§-11'?1=”` iv w

 

 

/r
1 * ‘ - "?: ;~; § , §
gaf if julie 1111 fagg §§

 

z ¢:’§'tq§‘i` . !, jr)'»\)j
Prooess SeNer if j "’ 1’

61
This summons is issued pursuant to Rule 4 of the Tennessee Ru|es of Civi| Procedure.

Case 3:11-cv-OO460-PLR-HBG Document 1-1 Filed 09/21/11 Page 29 of 29 ', iPage|D #:- 35

